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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
                                               §
                                               §
VS.                                            §   CRIMINAL ACTION NO. H-10-258-5
                                               §
                                               §
                                               §
SIKIRU O. BONOJO                               §

                                          ORDER

       The defendant Sikiru O. Bonojo filed an unopposed motion for continuance of the sentencing

hearing, (Docket Entry No. 505). The motion for continuance is GRANTED. The sentencing

hearing is reset to November 10, 2015 at 10:30 a.m.

              SIGNED on August 5, 2015, at Houston, Texas.

                                             ______________________________________
                                                        Lee H. Rosenthal
                                                   United States District Judge
